            Case 1:17-cv-02339-KBJ Document 18 Filed 09/24/18 Page 1 of 2



                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



MOL HUNGARIAN OIL AND GAS PLC.,                   )
                                                  )
                      Petitioner,                 )
                                                  )           Case No. 1:17-cv-02339-KBJ
       v.                                         )
                                                  )
THE REPUBLIC OF CROATIA,                          )
                                                  )
                      Respondent.                 )


             NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), the Petitioner MOL Hungarian

Oil and Gas Plc., by and through its counsel, hereby voluntarily dismisses the above-captioned

action without prejudice.
         Case 1:17-cv-02339-KBJ Document 18 Filed 09/24/18 Page 2 of 2



Dated: September 24, 2018               Respectfully submitted,

                                        DECHERT LLP



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